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       ATTACHMENT 1
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                               G OVERNOR G REG ABBOTT


December 7, 2022



Dear State Agency Heads:

The preservation of the safety and security of Texas is critically important. The threat of the
Chinese Communist Party to infiltrate the United States continues to grow on multiple fronts.
While the federal government holds the ultimate responsibility for foreign policy issues, the State
also has the responsibility and opportunity to protect itself.

Last session, the Texas Legislature took steps to protect certain critical infrastructure by passing
the Lone Star Infrastructure Protection Act.

Since then, we have gained information about growing threats posed by TikTok that require
immediate action to protect our State’s sensitive information and critical infrastructure. This
threat demands immediate vigilance from your agency, as set forth in this letter.

TikTok is a video-sharing mobile application with more than 85 million users in the United
States. It belongs to a Chinese company called ByteDance Ltd., which employs Chinese
Communist Party members and has a subsidiary that is partially owned by the Chinese
Communist Party. TikTok harvests vast amounts of data from its users’ devices—including
when, where, and how they conduct internet activity—and offers this trove of potentially
sensitive information to the Chinese government. While TikTok has claimed that it stores U.S.
data within the U.S., the company admitted in a letter to Congress that China-based employees
can have access to that U.S. data. It has also been reported that ByteDance planned to use
TikTok location information to surveil individual American citizens. Further, under China’s
2017 National Intelligence Law, all businesses are required to assist China in intelligence work,
including data sharing, and TikTok’s algorithm has already censored topics politically sensitive
to the Chinese Communist Party, including the Tiananmen Square protests.

The director of the FBI recently warned that the Chinese government can control TikTok’s
content algorithm, allowing it to perpetrate influence operations within the United States. In
fact, the use of TikTok on federal-government devices is already prohibited by agencies like the
U.S. Department of State, the Department of Defense, and the Department of Homeland
Security.

Because of these threats, effective immediately, every state agency in Texas shall ban its officers
and employees from downloading or using TikTok on any of its government-issued devices.
This TikTok ban extends to all state-issued cell phones, laptops, tablets, desktop computers, and


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other devices capable of internet connectivity, and it must be strictly enforced by your agency’s
IT department. As head of your agency, you may grant exceptions to enable law-enforcement
investigations and other legitimate uses of TikTok on state-issued devices. This authority may
not be delegated. These narrow exceptions must be reported to the Office of the Governor
(OOG).

In addition, I hereby direct joint action by the Texas Department of Public Safety (DPS) and the
Texas Department of Information Resources (DIR) to develop a model plan that other state
agencies can deploy with respect to the use of TikTok on personal devices. Among other
potential TikTok vulnerabilities, this model plan must address the following:

   •    Use of personal devices by agency employees or contractors to conduct state business,
        such as a TikTok-enabled cell phones with remote access to an employee’s [.gov] email
        account;

   •    Identification of any sensitive locations, meetings, or personnel within an agency that
        could be exposed to TikTok-enabled personal devices;

   •    Network-based restrictions to prevent the use of TikTok on any personal device while it
        is located on agency property; and

   •    Whether this model plan should incorporate other technology providers besides TikTok,
        including any apps, services, hardware, or software.

DPS and DIR will present this model plan to OOG and circulate it to all other state agencies for
their use by January 15, 2023. Each state agency will then have until February 15, 2023, to
present OOG and DPS with its own policy governing the use of TikTok on personal devices.
Upon approval by the DPS Cyber Security division, the state agency shall promptly implement
that policy for its employees, contractors, and facilities.

Any questions about this important security directive should be directed to DPS, DIR, or the
OOG policy advisor assigned to your agency. Together, we will defend the State of Texas
against a Chinese government that wields TikTok to attack our way of life.


Sincerely,




Greg Abbott
Governor

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